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   GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY, AND
     DISCLAIMER REGARDING DEBTOR’S SCHEDULES AND STATEMENTS

        The Schedules of Assets and Liabilities (the “Schedules”) and Statement of Financial
Affairs (the “SOFA” and together with the Schedules, the “Bankruptcy Schedules”) of Shift Pixy,
Staffing, Inc. (the “Debtor”), have been prepared pursuant to section 521 of title 11 of the United
States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure
by the Debtor under the direction of its Chief Restructuring Officer, Jonathan Feldman (the
“CRO”) and are unaudited. These Global Notes and Statement of Limitations, Methodology, and
Disclaimer Regarding Debtor’s Schedules and Statements (the “Global Notes”) comprise an
integral part of the Bankruptcy Schedules and should be referred to and considered in connection
with any review of them.

The information provided herein, except as otherwise noted, is as of the close of business on
October 27, 2024, the last date prior to October 28, 2024, the date of filing of the Debtor’s
bankruptcy case (the “Petition Date”) on which financial information was available. Although the
Debtor has made reasonable efforts to ensure that the Bankruptcy Schedules are as complete and
accurate as possible in light of the circumstances, there can be no assurance that these Bankruptcy
Schedules are, in fact, complete or accurate.

None of the Debtor, the CRO, nor the attorneys for the Debtor guarantees or warrants the accuracy,
completeness, or currentness of the data that is provided herein and shall not be liable for any loss
or injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting, communicating
or delivering the information contained herein. While every effort has been made to provide
accurate and complete information herein, inadvertent errors or omissions may exist.

                 Specific Disclosures with Respect to the Debtor’s Schedules

SCHEDULE A/B. The Debtor has used reasonable best efforts to report all assets property of
ShiftPixy Staffing, Inc. However, the Debtor’s records do not distinguish among the Debtor’s
assets and the ones that belong to the parent company, ShiftPixy, Inc. In the past, the Debtor and
its related companies attempted to separately record assets but ceased to maintain such records
pre-petition. All comingled assets are reported on the schedules of ShiftPixy, Inc. Where possible
the Debtor has identified assets primarily related or used by ShiftPixy Staffing, Inc., have been
reported in Schedule A/B for ShiftPixy Staffing, Inc.

SCHEDULE D/E/F Part 1. The Debtor has used reasonable best efforts to report all priority,
secured and unsecured claims against the Debtor on Schedule D/E/F based on the Debtor’s existing
books and records as of the Petition Date. In certain instances, the Debtor’s records have not been
updated and reconciled to confirm the actual amounts due, primarily as it relates to deferred
compensation. Although reasonable efforts have been made to reconcile the claim amounts,
determining the exact amounts due prior to filing the schedules would be unduly burdensome and
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cost prohibitive and, therefore, the Debtor has listed the amounts reflected in readily available
records as disputed and reserved the right to amend or correct its schedules once reconciliations
can be made.

The Debtor has used reasonable best efforts to report all general unsecured Claims against the
Debtor on Schedule E/F Part 2 based upon the Debtor’s existing books and records as of the
Petition Date. The Claims listed on Schedule E/F Part 2 arose or were incurred on various dates.
In certain instances, the date on which a Claim arose is an open issue of fact. Although reasonable
efforts have been made to identify the date of incurrence of each Claim, determining the date upon
which each Claim on Schedule E/F Part 2 was incurred or arose would be unduly burdensome and
cost prohibitive and, therefore, the Debtors may not have listed a date for each Claim listed on
Schedule E/F Part 2. The dollar amount of potential Claims associated with any such pending
litigation is listed as “undetermined” and marked as contingent, unliquidated and disputed in the
Schedules and Statement.
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